     Case: 1:98-cv-08318 Document #: 360 Filed: 09/13/16 Page 1 of 1 PageID #:3904




                       IN THE UNITED STATES DISTRICT COURT
                                     FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Joseph DeMauro
,

Plaintiff(s),
                                                       Case No. 98 cv 8318
v.                                                     Judge Joan B. Gottschall

Betty Loren-Maltese, et al,

Defendant(s).

                                            ORDER

   Counsel has failed to compy with the Clerk's Notice of Exhibit Disposal Local Rule 79.1.
The Clerk of Court is hereby given authority to destroy exhibits 252-1 through 252-2 on or after
9/19/16, if they are not retrieved by the close of business 9/16/16. Exhibits may be retrieved by
calling the Clerk' office at (312)435-5691.




Date: 9/13/16                                                          /s/
                                                               Joan B. Gottschall
                                                             United States District Judge
